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Prob 12B                    UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                            (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         THONG TRAN

Docket Number:                         2:07CR00465-02

Offender Address:                      Fresno, California

Judicial Officer:                      Honorable Morrison C. England, Jr.
                                       United States District Judge
                                       Sacramento, California

Original Sentence Date:                04/30/2009

Original Offense:                      21 USC 846 and 841 (a)(1), Conspiracy to Manufacture Over
                                       1,000 Plants of Marijuana
                                       (CLASS A FELONY)

Original Sentence:                     25 months custody Bureau of Prisons, 60 months supervised
                                       release, mandatory testing, $100 special assessment.

Special Conditions:                    1) Search; 2) Financial disclosure; 3) Drug and alcohol
                                       treatment; 4) Drug and alcohol testing; 5) Cooperate with
                                       immigration officials; 6) Participate in co-payment plan; and
                                       7) Register as a drug offender.

Type of Supervision:                   Supervised Release

Supervision Commenced:                 05/27/2009

Assistant U.S. Attorney:               Michael Beckwith                   Telephone: (916) 554-2700

Defense Attorney:                      Steven D. Bauer                   Telephone: (916) 447-8262




                                                                                                              R ev. 05/2008
                                                                                 V IO LA T IO N __P E TIT IO N (P R O B 12B )
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RE:    TRAN, Thong
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Other Court Action:

10/14/2009:                            Probation Form 12A, Report of Offender Non-Compliance,
                                       alleging use of cocaine and failure to drug test. The Court
                                       approves Probation Officer’s plan requiring drug testing and
                                       substance abuse counseling.


                                  PETITIONING THE COURT

To modify the conditions of supervision as follows:


       The defendant shall abstain from the use of alcoholic beverages and shall not
       frequent those places where alcohol is the chief item of sale.


Justification:    Since the offender commenced supervision on May 27, 2009, he has been drug
testing four times monthly with Turning Point Aftercare services. In October 2009, the offender
submitted a positive test for cocaine and failed to appear for testing as directed. As a result of his
drug use, the offender’s drug testing was increased and he was referred to substance abuse
counseling. The offender has been attending counseling regularly, but has relapsed with drug use.
On November 9, 2009, he submitted a positive drug test for MDA, MDMA (Ecstasy).


The offender has been honest with his drug use and is requesting additional counseling to address
his substance abuse issues. According to his counselor with Turning Point, the offender has been
making positive strides in his treatment, despite his recent drug use. The counselor feels the offender
can benefit from additional counseling services and also believes that his alcohol use has contributed
to his drug use. The offender maintains employment in his uncle's landscaping business and aside
from his drug use, has been responsive to his supervision conditions. In order to assist the offender
with his substance abuse issues, it is recommended that his supervision conditions be modified to
include an alcohol restriction. In addition to this condition, it is further recommended, that the
offender be allowed to remain in the community to continue drug testing and outpatient counseling
services with Turning Point Aftercare services. The offender is in agreement with this plan and has


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signed a Waiver of Hearing to Modify Conditions of Supervised Release. This form is attached for
the Court’s review.



                                    Respectfully submitted,




                                   MARLENE K. DEORIAN
                           Senior United States Probation Officer
                                   Telephone: 559-499-5729


DATED:        12/14/2009
              Fresno, California
              mkd



REVIEWED BY:
                      HUBERT J. ALVAREZ
                      Supervising United States Probation Officer




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THE COURT ORDERS:


(XX) Modification approved as recommended.


( )   Modification not approved at this time. Probation Officer to contact Court.


( )   Other:


 Dated: December 24, 2009

                                           ________________________________
                                           MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE


cc:   United States Probation
      Beckwith, Assistant United States Attorney
      Bauer, Assistant Federal Defender
      Defendant
      Court File




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